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                IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                          $
                                                $
POSITIVE HEALTH                                 $
MANAGEMENT,INC.                                 S            Case No. 08-31630
                Debtor.                         $            Chapter 7
                                                s
RANDY WILLIAMS,                                 $
CHAPTER 7 TRUSTEE                               $     ADVERSARY NO. Lo-03121
                Plaíntffi                       $
v.                                              $
                                                $
COMPASS BANK, ET AL.                            $
         Defendants.                            $

                COMPASS BANK'S MOTION FOR SUMMARY JUDGMENT
                  REGARDING REASONABLY EQUIVALENT VALUE

TO THE HONORABLE JEFF BOHM, LINITED STATES BANKRUPTCY JUDGE:

        COMES NOV/, Compass Bank and hereby files this its Motion for Summary Judgment

Regarding Reasonably Equivalent Value (the "Motion") and would show unto the Court               as


follows:

                                       BACKGROUND FACTS

         1.     Positive Health Management, Inc. a/k/a Positive Pain Management, Inc. (the

"Debtor") filed for relief on Marchll, 2008 (the "Petition Date"). Randy Williams            was

appointed Chapter 11 Trustee and the case \¡/as subsequently converted the Debtor's bankruptcy

case   to ChapterT      case   on March13,2009. Randy Williams became the ChapterT Trustee

(ooTrustee").

        2.      The Trustee filed Adversary No. 10-03121 asserting various claims         against

Compass Bank and others. Compass Bank has filed three (3) motions to dismiss which have

resulted   in one (1)   cause   of action remaining against Compass Bank. That one (l)   cause   of
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action is pursuant to 11 U.S.C. $ 5aS(a)(lxBxi)-(iii) and involves six (6) alleged transfers made

prior to the Petition Date. Søe, Trustee's Second Amended Complaint for Avoidance of

Transfers and Related Relief,lTlT33               & 44,Docket#59.

                                                  UNDISPUTED FACTS

             A.         The Loan
                                                                                        ool-oan")
             3.             On August 1, 2003 Compass Bank made a loan (the                          to   Zeigler

Enterprises         II, LLC       (the "Borrower") which was secured by real estate and a building at

4242Medical Drive, Building #5, of The Vistas Office Park Planned Unit Development in San

Antonio, Bexar County, Texas (the "Property"). See, Tina Kirkland's Affidavit ("Kirkland

Affidavit"),nn2 & 3, attached hereto as Exhibit               1.


            4.              The Borrower leased the Property to Positive Pain Management, Inc. ("PPM"),

Correct Care Clinic,LLC, and Garland Psychological Center. See, Kirkland Affidavit, !f 6 and

Exhibit I thereto. The Debtor operated out of the Property. Seø, Debtor's Voluntary , docket # 1

(Location of Principal Assets of Business Debtor), attached hereto as Exhibit 7.

            5.              In the process of conducting its due diligence before making the loan to         the

Borrower, Compass Bank engaged Joseph N. Woller & Company to perform an appraisal report

("Appraisal") on the Property. See, Kirkland Affidavit                 12   and JosephN. Woller's Affidavit

("Woller Affidavit"),              tf   2. A true and correct copy of the Appraisal is attached to Woller
Affidavit as Exhibit             A.     The Woller Affrdavit is attached hereto as Exhibit   2.   As part of the

appraisal process, Mr. Woller performed an income approach to value the Property. Mr. Woller

determined, as of the effective date of the Appraisal (Ju|y23,2003), that the potential monthly

economic income for the Property was $1 1,530.0. See, Appraisal, p. 47.




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                6.          The Loan from Compass Bank to the Borrower was evidenced by a Promissory

Note, which              \ryas secured   by a Deed of Trust, Security Agreement and Financing Statement, and

an Absolute Assignment of Leases.                        ,See,   Kirkland Affidavit,    T   3 and Exhibits A, B and C

thereto. Ronald                 Ziegle.r guaranteed the   Loan.     See,    Kirkland Afflrdavit, 113. Additionally, the

Borrower executed an Affidavit Regarding Tenancy and the Debtor executed an Estoppel

Certif,rcate           of Tenant. See, Kirkland Affidavit,            1TT   3 &, 6. True and correct copies of      the

Affidavit Regarding Tenancy and the Estoppel Certificate of Tenant are attached                           as Exhibits   I

and D to Kirkland                Affidavit. A UCC-I financing statement was filed with the Texas             Secretary

of State under file number 03-003796497I. A true and correct copy of which is attached to

Kirkland Affidavit as Exhibit                   E. A UCC-3 continuation          was filed on April 16, 2008 with the

Texas Secretary of State under file number03-00130825. A true and correct copy of which is

attached to Kirkland Affidavit as Exhibit F.

                7.         The Loan from Compass Bank was paid off in October or November of 2008.

See,     Kirkland Affidavit, fl          1.


                B.        The Debtor

                8.         PPM and Positive Health Management, Inc. ("PHM") are the same company.

See, Martha Jester's March                    ll,2010 Affidavit ("Jester      March Affidavit"), p. 1, attached hereto

as Exhibit 8. ("Dr.Ziegler... operated a pain management clinic called Positive                                   Pain

Management, Inc. On or about March 2006, Dr. Ziegler informed me that the name of the clinic

was changed to Positive Health Management,                        Inc.") (Emphasis in original). Mr. Longaker, the

Trustee's alleged expert witness, admitted in his deposition that Positive Pain Management and

Positive Health Management were the same company. See, Longaker Deposition Transcript,

p 49, lns. 20-23 (attached hereto as Exhibit                 3). Additionally, the 2006 U.S. Tax Return which is




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an Exhibit to Martha Jester's January 13, 2011 Affidavit ('oJester January Affidavit") and an

exhibit relied upon by Mr. Longaker shows a name change without a change of taxpayer

identification number. That taxpayer identif,rcation number is the same as on the 2007 tax return

which is also an exhibit relied upon by Mr. Longaker and is attached to Jester January Affidavit.

The Jester January Affidavit is attached hereto as Exhibit                9.   Furthermore, Dr. Ziegler caused to

be filed an amendment to PPM's Articles of Amendment reflecting a name change. See, Texas

Secretary of State Articles of Amendment filed with the Secretary of State of Texas under file

number 135507500, attached as Exhibit 12 to Longaker's Report. Compass Bank requests the

Court take judicial notice of the filing with the Secretary of State of Texas. A true and correct

copy of which is attached hereto as Exhibit                4.   The Trustee has previously alleged that PPM and

PHM were the same company. Søe, Trustee's Fourth Amended Complaint for Declaratory

Relief and Avoidance of Transfers in Adversary No. 09-3282, Docket No. 57, nn12-21. A true

and correct copy of that Complaint is attached hereto as Exhibit                     5.   PPM and PHM       will   be

collectively referred to herein as the "Debtor".

            9.            PPM and PHM were considered by Jester to be one and the            s¿Ìme   company. See,

Jester January Affidavit, fl              3. In 2006, Dr. Zieglt    told Jester that he had changed the name of

PPM to PHM.                   Id.   Jester prepared the 2006 Federal income tax return    for PPM; however, after

Jester had signed the retum and provided the original to Dr. Ziegler, he whited out the word

"Pain" in the name section on the first page of Form 11205 and inserted the word "Health". Id.

All the other pages of the 2006 tax return reflect the name "Pain"                and not'oHealth".    Id. The next

year while preparing the 2007 tax return for PHM Jester merely picked up the PPM accounts

from the close of the 2006 return for the beginning balances for the 2007 rctum.                       Id. The tax
payor identification number is the same on the 2006 and 2007 tax returns because Jester thought




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they were the same company.                       Id. A Form 11205 return is an informational return for a sub
chapter S corporation.                  Id. True and correct copies of the PHM 2006 and 2007 tax returns are
attached to the Jester January Afflrdavit, as Exhibits                A and B, respectively.

              C.         The Rent and Loan Payments

              10.          Martha Jester ("Jester") worked for Dr. Ron Ziegler as an accountant. See, Jester

March Affidavit, p. 1, Jester January Affidavit, fl 2. The Debtor did not pay rent directly to the

Borrower. See, Jester March Affidavit, p. 3 and Jester January Affidavit, fl 7. Mr. Longaker

knew rent was being paid but he did not know how or to whom it was being paid. See, Longaker

Deposition Transcript, p.59,1n.22 through p.60, ln. 16;                        p.62,In.8 - ln. 16. Mr. Longaker

agreed that since rent was being expensed on the tax retums that "one would deduce" that rent

was being paid in a manner other than directly to the                      Borrower.      See, Longaker Deposition

Transcript, p. 62,In.17 through p. 63, ln. 9.

              11.          Jester claimed an expense deduction for Debtor due            to its payment of rent on its

2006 and2007 taxreturns. See, Jester January Affidavit,                       17. \ee,2006     and2007 Tax Retums

line 11 attached                as Exhibits   A and B to the Jester January Affidavit.

              12.          The rent payments made directly by Debtor to Compass Bank allowed the

Borrower to stay relatively current with the Borrower's mortgage obligation and prevented

Compass Bank from initiating foreclosure proceedings. See, Kirkland Affidavit, T                               7.   A

foreclosure may have dispossessed the Debtor from its leased premises in the Property. See,

Kirkland Affidavit,                l7   andEstoppel Certif,rcate of Tenant.

             13.           Compass Bank had           a lien on the rent due from the Debtor.          ,See, Absolute


Assignment             of Rents and the UCC-I financing statement. Attached as Exhibits C and D to




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Kirkland Affidavit. The Debtor had executed an Estoppel Certificate of Tenant. See, Kirkland

Affidavit, !f 3 and Exhibit D thereto.

              14.          Pursuant to the Absolute Assignment of Rents, Compass Bank was entitled to the

rental due from the Debtor to the Borrower. The rental amount due on the Property was twice as

much as the monthly mortgage payment. The regular monthly mortgage payment was

55,377.19.              ,See,      Note, ExhibitA to Kirkland Affidavit and Kirkland Affìdavit           !14.   The

payments made on the Note in the amounts of $11,292.15 were for two (2) months' worth                            of

payment plus late fees. See, Kirkland Affrdavit, fl 4.

              15.          Jester coded the payments by the Debtor          to Compass Bank   as rent payments and


the Debtor deducted the expense from its tax returns. See, Jester January Affrdavit, fl                  7. In this

case the Debtor, owed the Borrower rent                    for each month of occupancy. Compass Bank entered

into the loan transaction based on the representation from both the Borrower and the Debtor that

the Debtor had a lease and would be paying rent to the Borrower. See, Kirkland Affrdavit, fl 6.

              16.          PPM and PHM occupied space in a San Antonio office building. See, Jester

January Affidavit, fl               6.   Jester understood the landlord to be the Borrower.   Id. From time to time

while Jester was engaged as an accountant by Dr. Zieg\er, Dr. Ziegler would need to have the

mortgage payment made to Compass Bank.                         Id.    Jester understood that Compass Bank was the

Borrower's lender regarding the Property.                    Id.     Jester understood that the Debtor occupied the

Property.           Id. Dr. Ziegler would, from time to time, cause the Debtor to make the mortgage
payment directly to Compass Bank. 1d.

              17.          Since the Debtor did not pay rent to the Borrower, Jester accounted for the

payments made by the Debtor to Compass Bank as rent payments. ,See, Jester January Afhdavit,

fl   7 and the 2006 and 2007 tax returns, line 11 attached as Exhibits A and B thereto.                         The




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Debtor's payments to Compass Bank were accounted for as rent payments and were expensed on

the Debtor's tax returns as rent expenses.           Id.   The Debtor's payments to Compass Bank were

treated     for accounting purposes as rent payments made to the Borrower, Id. The Debtor

obtained benefits from these transactions, because the payments were considered, as between the

Debtor on the one hand and the Borrower on the other to be for the payment of rent due under

the lease by and between the Debtor, as tenant, and the Borrower, as the landlord. Id.

Furthermore, the Debtor expensed the rent on the tax returns which resulted                    in a deduction

against taxable income reported on the         K-l   to Dt. Ziegler. Id.

            18.        Had the Debtor not made the mortgage payment for and on behalf                   of   the

Borrower, then the Debtor would have had to make rent payments to the Borrower. See, Jester

January Affrdavit, fl       9.   The Borrower would have then used the rent payment deposit from PPM

and PHM to make its mortgage payment to CompassBank.                       Id.   Since the Debtor did not make

any rent payment to the Borrower the only way the Borrower could have made the mortgage

payments was by having the tenant (the Debtor) make the rent payments directly to Compass

Bank.       Id.    From an accounting standpoint the result was the same and both the landlord (the

Borrower) and the tenant (the Debtor) benefitted because the Borrower stayed relatively current

on its mortgage and was later able to sell the Property and the Debtor was able to maintain its

leased space and continue its business activity at the Prcperty. Id.

            19.        Jester believes that a lease existed between the Debtor and the Borrower because

Dr. Ziegler so advised her and when Dr. Zieglt was exploring a sale of his businesses it was an

item to be disclosed in the due diligence materials. See, Jester January Affrdavit, fl 10.

           20.         The amount of rent payments made by PPM and PHM varied roughly between

$5,500.00 and $11,300.00. See, Jester January Afflrdavit,          fT   11. It was Jester's understanding that




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when payments were in the $11,300.00 range that the Debtor was making up for an earlier

skipped rent payment.                 Id. Therefore   monthly rent was in the approximate amount of $5,500.00

per month.           Id.        This arrangement of the Debtor paying the mortgage payments instead of rent

allowed         it to effectively pay a below-market rate of rent for the Property. Id.                       While this

arrangement had an adverse effect upon the Borrower, it had a beneficial effect upon the Debtor

because        it resulted in higher profitability to the Debtor.            Id. This fact is confirmed by the credit
approval summary of Texas Capital Bank ("TCB") prepared on November 17,2006, a true and

correct copy of which is attached to the Jester January Affidavit as Exhibit                             D. Id.   The TCB

write up also reflects that PPM and PHM were the same company, because the write up states

that (a)               was incorporated in 1995, and (b) PPM changed its name to PHM in2006. Id.
             IHM
             2I.            As Jester advised the Trustee in her March 2010 Affrdavit, neither PPM nor PHM

ever made a rent payment directly to the Borrower. ,See, Jester                    Affidavit, fl   12.


             D.         Facts Regarding Ziegler Enterprises             II, LLC's Acquisition of San Antonio
                        Building

             22.        The Borrower was a tax flow through entity and all tax attributes of the Borrower

flowed through and were reported on Dr. Ziegler's personal tax retum. See, Afftdavit of Martha

Jester ("Jester         Affrdavit"), fl 2.

             23.        The Borrower came to Compass Bank to acquire the Property. See, Kirkland

Affidavit, fl 5. In the process of doing its due diligence, Compass Bank engaged Joseph N.

Woller to conduct an appraisal. See, Kirkland Affrdavit,                       fl2.   JosephN. Woller prepared the

Appraisal dated July 25,2003 which determined the value of the Property to be $730,000.00.

See, Appraisal attached to Woller              Affidavit   as   Exhibit A.

             24.        Based in part on the opinions contained in the Appraisal, Compass Bank lent the

Borrower $598,400.00 which was evidenced by a Promissory Note dated August 1, 2003 (the




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o'Note") executed by the Borrower. See, Kirkland Affidavit, Exhibit           2.   The Note was secured by


a Deed    of Trust executed by the Borrower which pledged the Property to the benefit of Compass

Bank. See, Kirkland Affidavit, fl 3. The Note called for monthly principal and interest payments

of $5,377.19. See, Kirkland Affidavit, fl4 and the Note attached thereto as Exhibit              A.   The Note

was also secured by an Absolute Assignment of Rents and by a UCC-I f,rnancing statement. See,

Kirkland Afhdavit,     ,lf   3 and Exhibits C and E thereto. The Note was guaranteed by Dr. Ziegler.

See,   Kirkland Affidavit, !f 3.

          25.     The Property was occupied by Positive Pain Management, Inc., Correct Care

Clinic, LLC, and Garland Psychological Center. See, Jester January Affidavit, fl 6; Kirkland

Affidavit, !J6 and the Affidavit of Tenancy attached thereto as Exhibit            I.   The Debtor operated

out of the Property. See, Debtor's Voluntary Petition, Docket #          1.   Compass Bank requests that


the Court take judicial notice of the Debtor's Petition.           A   copy of the Debtor's Petition is

attached hereto as Exhibit       7. As part of Compass    Bank's collateral package Compass Bank had

each tenant sign Estoppel Certificates and received a representation from the Borrower that the

three (3) tenants were the only tenants. Each tenant's lease was for a period of five (5) years.

See, Afftdavit of Tenancy attached as Exhibit            I to Kirkland Affidavit.       The Trustee, Randy

Williams, testified that he believed the Property was leased to the Debtor. See, Randy Williams

Deposition transcript, p.38,        ln.l7 through p.39,In.3; p.41, ln.z - 8. A copy of which is
attached as Exhibit 6 hereto.

          26.     In October 2008 the loan to Compass Bank was paid off.            ,S¿e,   Kirkland Affidavit,

tT   1. It is believed that the payoff was pursuant to a sale of the building. See, Trustee's
Complaint.




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            E.          Value of Debtor's Leasehold Estate

            27.         In2006, the operations of Correct Care Clinic,LLC, and Garland Psychological

Center began to wind down. See, Jester January Affrdavit, fl 8.

            28.         As part of the Appraisal, Joseph N. Woller conducted an income approach to the

value of the Property and determined that as                      of   Ju1y23,2003 the market rental rate was

$11,530.00        .   See, Appraisal, p. 47.

            29.         Martha Jester ("Jester") was engaged by Dr. Ronald Ziegle'r to provide accounting

services       for    Dr. Ziegler's various companies. See, Jester January Affidavit, fl               2.   These


companies included, but are not limited to, Positive Pain Management, Inc., Positive Health

Management, fnc., Garland Psychological Center (o'Garland"), Correct Care Clinic, LLC

(..CCC"), Ziegler              Enterprises   II, LLC      ("Ziegler    II"), and Zieglet Enterprises V,       LLC

("ZieglerY"). Id. All of these entities are tax flowthrough entities. Id. None of the entities

paid income tax.             Id. All of the tax attributes flowed back through Dr. Ziegler. Id. The Debtor
was a sub chapter S corporation.             Id. Dr. Ziegler received a K-l       from each of the entities and all

of the income and losses from the entities were reported on Dr. Ziegler's personal return. Id.

Likewise, the various limited liability companies of Dr. Ziegler were also tax flow through

entities.      Id.    Since Dr. Ziegler was the one who was ultimately responsible for the payment               of

income tax, the source of the income or loss from one entity or another was immaterial because

the tax effect was not affected. Id.

            30.         During 2006,Dr.Ziegler's other two (2) operating companies, Garland and CCC

had begun to wind down operations.              ^See,
                                                        Jester January   Affidavit, fl   8.


            31.         Dt.Zieg\er's companies were, from an accounting standpoint handled in a very

haphazardway. See, Jester January Affrdavit, fl 12. Dr. Ziegler was constantly in a frantic state

regarding the payment of obligations by his companies and shortcuts were frequently taken.                      -Id.




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It was frequently the case that creditors were paid in a hurried manner to avoid such creditor

instituting formal collection procedures.          Id.   Frequently bills charged to one company were paid

for by another; however, they               endeavored    to properly   account   for the   payments through

intercompany transfers and on each company's books and records               . Id. Dr. Ziegler's   companies

were not operated on an ideal basis; however, in the case of the payments to Compass Bank

those payments were classified as the payment of rent to the Borrower on the respective books

and records of the Debtor and the           Bonower. Id.

                                              LEGAL ARGUMENT

            F.        Summary Judgment Standard

            32. This Court has previously                set forth the applicable standard for summary

judgment, as follows:

            Federal Rule of Civil Procedure 56(c), made applicable by Federal Rule of
            Bankruptcy Procedure 7056, provides that a court may grant summary judgment
            only if there is 'no genuine issue as to any material fact and that the moving party
            is entitled to a judgment as a matter of law." The movant bears the initial burden
            of showing the absence of a genuine issue of material fact. Celotex Corp. v.
            catrett, 477 U.S. 317, 106 S. Ct. 2548,91 L. Ed. 2d265 (1986). The non-movant
            then must present affirmative evidence showing a genuine issue of material fact.
            Celotex Corp. v. Catrett,477 U.5.317,106 S. Ct. 2548,91 L. Ed. 2d265 (1986)
            Id.;Fed. R. Civ. P. 56(e) Matsushitq Elec. Indus. Co., Ltd. V. Zenith Radio Corp.,
            475 U.S. 574, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986) ("The opponent must do
            more than simply show that there is some metaphysical doubt as to the material
            facts."). The Court must o'construe all evidence in the light most favorable to the
            non-movingparty without weighing the evidence, assessing its probative value, or
            resolving any factual disputes." Williams v. Time Warner Operation, Inc., 98 F .3d
            l79,l8l (5th Cir. 1996).
Inre McCombs,2007 WL4411909 *3 (Bankr.                         S.D. Tex. December 17,2007). The Bank, in

filing this Motion           as supported by the evidence set forth herein, believes that summary judgment

is appropriate against the Trustee due to the absence of a genuine issue of material                    fact.




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lÌtrarfietdv. Byron,436F.3d 551,557 (5th Cir. 2006) Condreyv. SunTrust Bank of Georgia,

429 F.3d 556 (5th Cir. 2005).

              33.          The factual scenario   in this case is more compelling to finding reasonable
equivalent value than the factual situation of Fairchild Airuaft Corp. in which the Fifth Circuit

found reasonably equivalent value. Butler Aviation Internqtional, Inc. v. lílhyte (In Matter                     of

Fairchild Aircraft Corp.),6 F.3d            11   19 (5th Cir. 1993). In Fairchild, the Debtor was paying an

affiliate's trade debt, because the debtor determined that it was beneficial to keep the affiliate

afToat      to prevent harm occurring to the debtor.            Id. The Fifth Circuit agreed because of the
importance of the affrliate's relationship to a major air carrier and the payments provided the

debtor with continued good relations with the carrier. Fairchild,6 F.3d at 1126.                        It was the

interconnectedness of the debtor, the affiliate and the major carrier from which the debtor was

receiving reasonably equivalent value. Here the Debtor (a tenant of the Borrower) was making

payments to the Borrower's lender in lieu of paying rent to the Borrower. The Debtor benefitted

because        it retained its leasehold while keeping the Borrower's lender relatively cunent.
                                                                oodebtor                      a
             34.          The Fifth Circuit noted that     a               need not collect       dollar-for-dollar

equivalent to receive reasonable equivalent value." Id. at 1125-26. The Fifth Circuit noted that

the debtor's decision must be evaluated as of the time of the decision to pay the trade vendot. Id.

at 1126. The Fifth Circuit stated the appropriate test to determine whether the debtor received                  an


economic benefit from the transaction. Id. at ll27              .



             35.          Here, the Debtor was the tenant of the Borrower's under a five (5)-year lease.

The appropriate value of that lease would have been determined at the time the lease was entered

into, which was also the time the loan was made by Compass Bank to the Borrower. The

leasehold value of the Property was determined by Mr. Woller at the time of the                       Loan.    See,




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Affrdavit of Mr. Woller,     tf   5; and Appraisal, pp.45   - 49. That value was determined to be
$11,530.00. See, Appraisal, p.47.

        36.     The Debtor, by paying Compass Bank directly, was fulfilling the Debtor's

obligation to the Borrower to pay rent and          in   return was receiving the peaceful use and

enjoyment of its leasehold estate. Compass Bank had an assignment of the Debtor's rents and

had the right   to have the rent       payments made directly    to Compass Bank.    See, Absolute

Assignment of Rents, $$ 2.1, 2.2,4.1,4.2,4.3,4.4, and 5.1. The obligation of the Debtor to the

Borrower for rent constituted part of Compass Bank's collateral. Not only did the Borrower

understand that obligation but so too did the Debtor. See, Estoppel Certificate           of Tenant

executed by both the Debtor and the Borrower.

        37.     Here, there       is a readily apparent relationship   between the Debtor and the

Borrower and there is the very real need for the Debtor to pay rent or           in lieu thereof the

Borower's mortgage payment to allow the Borrower to retain the Property and to thereby

provide the leased space to the Debtor. The synergy of the landlorditenant relationship and the

benefit received by the Debtor in retaining its leasehold estate is very apparent.

        38. By way of example: If party A ships widget #l to party B for $100.00 and
partyB ships widget#2 to partyC; then C can satisfy its debt to B by paying B's obligation

directly to party   A. Each party receives reasonably    equivalent value.




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As the above diagram demonstrates C's payment to A (even though C and A have no contractual

relationship) satisfies C's obligation to B as well as B's obligation to                    A.   Each party to the first

transaction receives what              it was entitled to: B      received the goods and          A   received $100.00'

Likewise in the second transaction C received the goods and B was relieved of its obligation to

A. The third transaction              is not a fraudulent transfer as to C because C received the value of the

goods from          B.       Although at first blush there may appear to be a fraudulent transfer by C to A,

once the entire transaction is understood value is flowing to each party.

            39.         Likewise here the Debtor received value as the following chart reflects. Compass

Bank lent the Borrower $598,400.00 secured by the Property and the rents from the Property.

The Borrower owed Compass Bank regularly scheduled monthly Note payments of $5,377.19.

The Borrower in tum leased the Property to the Debtor. The monthly value of the leasehold was

$11,530.00. The Debtor's payment of the lesser mortgage payment due by the Bonower to

Compass Bank was certainly not harmful to the Debtor (although                            it may have   been harmful to


the Borrower). The Debtor received greater value than what it was entitled to, Compass Bank

got what it was entitled to and the Borrower (not the Debtor) was "cheated" out of market rent.




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In short it was the Borrower who received less than reasonably equivalent value; however it is

the Debtor who is complaining.

         G.       Trustee Cannot Prove an Essential Element of His Claim as to Compass
                  Bank

         40.      Section saS(aXB) of the Bankruptcy Code states, in relevant part, as follows:

ll   u.s.c.   $ sa8(a)(B).

         'oThe trustee may avoid any    transfer... made... within two (2) years before the date of the

         filing of the petition, if the debtor voluntarily...

         (BXÐreceived less than a reasonably equivalent value in exchange for such transfer...;

         and

         (iÐ(I) was insolvent on the date that such transfer was made. '.

11   U.S.C. g saS(a)(B)(i) and   (ii). An essential element that the Trustee must prove is that the
Debtor received less than a reasonably equivalent value in exchange for the transfers it made to

Compass Bank.

         41.      The Trustee has the burden of proof as to reasonably equivalent value. In re

Hanover Corp,310 F.3d 796 (5th Cir.2002). The Trustee must demonstrate that the Debtor did

not receive reasonably equivalent value of the funds it transferred to Compass Bank. ASARCO




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LLC v. Americas Mining Corp.,396 B.R. 278, 336 (S.D. Tex. 2008). The issue of whether the

Debtor received reasonable equivalent value involves a two (2) step process: first, did the

Debtor receive any value; and second, was the value received reasonably equivalent value. Id.

(citing MDIP lnc.,332 B.R. 129, 133 (Bankr. D. Del. 2005). The Trustee must prove each of the

elements of a fraudulent transfer. Matter of Besing,981 F.2d t488,1494 (5th Cir. 1993); (citing

In re McConnell, 934 F .2d 662,                 665 n. 1 (5th   Cir. 1990)); Floyd v. Option One Mortgage   Corp.

(In re Supplement Spot, LLC),409 B.R. 187, 192, 199 (Bankr. S.D. Tex. 2009).

                42.           Here the Trustee's only evidence of lack of reasonably equivalent value is stated

by the Trustee himself and merely amounts to the sophomoric view of the transaction that

Compass Bank made a loan to the Borrower but received payment from the Debtor, a non-

borrower. This ignores the reality and totally of the situation. The Debtor's payment to

Compass Bank allowed it to satisff its obligation to Borrower and also satisfied the Borrowet's

obligation to Compass Bank.

                43.           In this case, unlike in Supplement Spot, the Debtor did operate from the Property.

The Debtor had a five (5)-year lease obligation to the Borrower, Compass Bank had an absolute

assignment of the Debtor's rent obligations due to the Borrower, and the Debtor had executed an

Estoppel thereby acknowledging Compass Bank's interests in the rents.

                44.           This case is aptly summarized by the following quote from the Eight Circuit

BAP's decision in In re Richards & Conover Steel Co.

                It is true that transfers     made oosolely
                                                       for [the] benefit of a [third] party do not furnish
               reasonably equivalent  value."  [cites omitted]. But "a transfer on behalf of a third party
               may produce a benefit that ultimately flows to the debtor, albeit indirectly. If the indirect
               benefit constitutes reasonably equivalent value to the debtor, a trustee cannot avoid the
               transfer as fraudulent." fcites omitted]. The party claiming to have delivered value must
               quantify it. [cite omitted]. As a leading commentator points out, the rule that a debtor
               who pays the debt of another normally does not receive value is subject to




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                             a rather large qualification. .. Even though the debtor makes a transfer, or incurs
                             an obligation for consideration that moves (in form or substance) directly to a
                             third person, the debtor nevertheless receives value if she receives an economic
                             benefit indirectly (inþrm or substance). The consideration need not flow directly
                             to her to satisff the value component of reasonably equivalent value. Value
                             requires only that the transfer result, whether directly or indirectly, in economic
                             benefit running directly to someone else where... (2)the debtor and the other
                             person share an identity of economic interests so that the debtor got some or all of
                             the direct benefit straightforwardly even though, in form, it passed only to the
                             other person because what benefits one will benefit the other.

In re Richard & Conover Steel Co.,267 B.R. 602, 613-14 (8th Cir. BAP 2001) (citing Epstein

$ 6-49 at28-30 (emphasis                 in original)).

                 45.         Judge Rosenthal in Smithv. American Founders Financisl Corp. held that when

the debtor's transfer involves a third party the court looks at all aspects of the transaction to see          if
the debtor received either direct or indirect benefits. She stated:

                The analysis is slightly more complicated when, as here, the transfer involves a third
                par|y, because the benefit to the debtor may be harder to determine. A court should
                "examine all aspects of the transaction and carefully measure the value of all benefìts and
                burdens to the debtor, direct or indirect." In re Newtowne, Inc., 157 B.R. 374,378-79
                (Bankr. S.D. Ohio 1993) (quoting In re Pembroke Dev. Corp.,124 B.R. 398, 400 (Bankr.
                S.D. Fla. 1991). ...

                In re Newtowne, Inc.,157 B.R. at 379,the court identified three (3) common scenarios in
                which a debtor's discharge of a third party's debt may be for reasonably equivalent value.
                The first is when the debtor's payment of a third party's debt results in a discharge of the
                debtor's own debt to the thkdparty. Id. ... The second scenario is when the debtor and
                the third party are so 'orelated or situated that they share an identity of interests because
                what benefits one will benefit the other to some degree." In re Newtowne, lnc.,157 B.R.
                at 379 (quoting Pembroke Dev. Corp., 124 B.R. at 400). Finally, when a debtor "enjoys
                the benefits of the goods or services it bought for its principal, the transfer of money for
                those goods or services may not be avoided." Id.

Smith v. American Founders Financial Corp.,365 B.R. 647, 666-67 (S.D. Tex. 2007). Here the

Debtor fulfills the first scenario as demonstrated by the chart above. The Debtor also fulfills the

second and             third scenarios because the Debtor needed to maintain its leasehold estate and to do

so had to be sure that the Borrower                fulfilled its loan obligation.




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             46.         Judge Rosenthal further stated that "[s]ome courts have held that an economic

benefit reasonably equivalent to the disputed transfer may flow from a debtor's ability to keep

his business in operation as a result of entering into the challenged transaction." Id. at 670

(citing In re Fairchitd Airuaft Corp.,6 F.3d, 1119, 1125 (5th Cir. 1993); Mellom Bank, N.A.              v.


Metro Commons, lnc.,945F.2d635 (3rd Cir. 1991); Inre Pembroke Dev. Corp., 124 B.R. 398

(Bankr. S.D. Fla. 1991).

            47.          This case is the inverse of Supplement Spot. Here direct benefits flowed to the

Debtor for the mortgage payments              it made to Compass   Bank, because the Debtor leased the

Property from the Borrower and operated from the Property. In Supplement Spot, this Court

found that the debtor'onever operated its business out of the properties whose loan balances were

reduced..." Id. at200. In this            case the Debtor operated at the location   for five (5) years and

benefitted from its ongoing business and the fulfillment of its lease obligation.

            WHEREFORE, PREMISES CONSIDERED, Compass Bank prays that the Court grant

Compass Bank's Motion for Summary Judgment Regarding Reasonably Equivalent Value, that

the Trustee has failed to prove a lack of reasonable equivalent value and therefore the Trustee




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cannot cany his burden of proof, and dismiss Compass Bank from this Advetsary Proceeding,

and for such other and further relief as is just.

                                                HIRSCH & WESTHEIMER, P.C.


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                                                ATTORNEYS FOR DEFENDANT,
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                              CERTIFICATE OF SERVICE

           I
         certify that a true and correct copy of the foregoing Compass Bank's Motion for
Summary Judgment Regarding Reasonably Equivalent Value was served by first class mail,
postage prepaid, facsimile andlor electronic mail by the Clerk of the Court via the ECM/ECF
system, as listed below on 2nd day of Febnmry, 2011.

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